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                           IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  ROOT, INC., et al.

           Plaintiffs,                                     Case No. 2:23-cv-00512

          v.                                               Judge Sarah D. Morrison

  BRINSON CALEB SILVER, et al.,                            Magistrate Judge Elizabeth Preston
                                                           Deavers
         Defendants.
   _________________________________


                              MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Specially Appearing Non-party, Miami

555 LLC (referred to as, the “Non-party”), moves the court to admit Alexis Fields pro hac vice to

appear and participate as co-counsel in this case. Ms. Fields is a member in good standing of the

highest court of Florida, as attested by the accompanying certificate from that court. Ms. Fields is

not eligible to become a member of the permanent bar of this Court. This Motion is accompanied

by the required filing fee.

       Ms. Fields understands that, unless expressly excused, she must register for electronic filing

with the Court promptly upon the granting of this Motion.

       Ms. Fields relevant identifying information is as follows:

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       FERGUSON WEISELBERG GILBERT
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       Fort Lauderdale, Florida 33301
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                                              Respectfully submitted,


                                              /s/ James R. Leickly
                                              James R. Leickly       (0038309)
                                              Trial Attorney
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                                              Columbus, Ohio 43215
                                              (614) 329-0133; (614) 221-3885 (Facsimile)
                                              James@Leicklylaw.com

                                              Attorney for Movant

                                CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2023, a true and accurate copy of the foregoing was
filed electronically. Notice of this filing has been sent to all parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.

A copy was also sent by ordinary U.S. Mail, postage prepaid, to the following:

Paige McDaniel
5576 Alexanders Lake Road
Stockbridge, GA 30281

                                              /s/ James R. Leickly
                                              James R. Leickly     (0038309)




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